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                                           Exhibit C
   Transcription of Speech by Michael Peinovich at MacIntyre Park, Charlottesville VA, August 12

                                                   2017



   We're here, we're gonna say a few words. It's our right to gather here, It’s our right to gather in

   that Park. Our constitutional rights were violated. All we wanted to do… This not a rally about

   hate. This is not a rally against any other group of people. This is a rally pro ourselves and we

   were attacked by people that have… the most vicious people with the most amount of hate in

   their hearts. I can't even imagine the level of hate in these people's hearts. I mean you saw their

   faces, the animalistic sneers and snarls on their faces. The pure hatred, [onlooker: Bottles of

   urine, feces] They were throwing human waste. Imagine preserving your waste so you can throw

   it at other people. This is a behavior of an animal. The behavior of a… [Onlooker: Savages!]

   savage. And these people I mean the sheer hatred, the sheer contortions of their faces. I've never

   seen such hatred, their empty, vacant, blank eyes. I’ve never seen such hatred, such pure

   unreasoning.. just absolute… you know just… [Onlooker: Malice!] Malice! Yes thank you for

   the vocabulary word. [onlooker: Depravity!] Yes, thank you for being my thesaurus right here.

   But we're going to say, you know, what what I was going to say is you know we're here to talk

   about white genocide, the deliberate and intentional displacement of the white race which is

   happening. I mean we are told we are the only race of people that are told you're not allowed to

   stand up for yourselves. What other race of people is told that simply standing up for ourselves,

   being pro-ourselves is hate, is evil, is something that you're not allowed to do? What other race
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   that simply says we want to stand up for ourselves inspires this kind of reaction? Yeah and we're

   taught this in school. What is “white privilege”? Have you heard of the conspiracy theory “white

   privilege”? Now this is a concept that was brought to us by Jewish intellectuals to undermine our

   confidence in ourselves, to make to make us think that we’re evil that we're bad that we can't

   stand up for ourselves, that we don't deserve a place in history, we don't deserve our own nations,

   we don't deserve our own community. And this is exactly the kind of brainwashing they are

   trying to level at us, but we're fighting back against it. And unfortunately there are a few sad

   souls that have been so gaslit, they have been so, you know, their their emotional integrity, their

   psychology has been so warped by this brainwashing that they that they express the kind of

   hatred that we saw today. I mean this is what this kind of brainwashing does to people. We are

   simply out here to support our own people and our own race. We have every right to do it.

   There’s nothing evil about it. It's about love, it's not about hate. We love ourselves, and we love

   our nation, we love our people, we love Europe we love America. We love white people and

   that's why we're here, and there's nothing wrong with that!
